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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                                      3:96cr65/LAC

MARCUS TALLEY

                                            /

                                          ORDER

       Pending before the Court is Defendant’s renewed motion to dismiss the indictment.

Upon full consideration of the motion and all matters related to the custody of Defendant, the

Court hereby requires that Defendant undergo further psychiatric or psychological evaluation

to further assist the Court.

       Accordingly, a psychological examination of the Defendant is to be conducted by

licensed psychologist James D. Larson, Ph.D., at the soonest time practicable, who shall then

file a psychological report with the Court in accordance with Title 18, United States Code,

Section 4247, with copies provided to the counsel for the person examined and to the

attorney for the Government.

       The report shall include the examiner’s opinion as to:

       1.     Whether the Defendant is suffering from a mental disease or defect rendering

              him mentally incompetent to the extent that he is unable to understand the

              nature and consequences of the proceedings against him, to assist properly in

              his defense, or to knowingly enter a plea of guilty;
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         2.       If so, whether there is a substantial possibility that the Defendant’s mental

                  condition will improve within a reasonable period of time such that he will be

                  able to understand the nature and consequences of the proceedings against

                  him; and

         3.       Whether the Defendant, if released or conditionally released, would pose a

                  substantial risk of bodily injury to another person or serious damage to

                  property of another.

         The report shall also include:

         (a)      the person’s history and present symptoms;

         (b)      a description of the psychiatric, psychological, and medical tests that were

                  employed and the results;

         (c)      the examiner’s findings;

         (d)      the examiner’s opinion as to diagnosis and prognosis;

         ORDERED on this 22nd day of August, 2006.




                                                              s/L.A. Collier
                                                              Lacey A. Collier
                                                      Senior United States District Judge




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